             Case: 22-3952         Document: 28       Filed: 10/17/2023     Page: 1




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
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                     Re: Case No. 22-3952, John Koe v. University Hospitals Health Systems, Inc., et al
                         Originating Case No. 1:22-cv-01455

Dear Mr. Koe and Counsel,

   The appellant’s motion to extend time to time to file brief is GRANTED. The brief is
accepted as timely filed.

                                                  Sincerely yours,

                                                  s/Virginia Lee Padgett
                                                  Case Manager
                                                  Direct Dial No. 513-564-7032
